      Case 2:25-cv-00144-HDV-BFM                             Document 1            Filed 01/02/25      Page 1 of 6 Page ID #:1

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction



                                        UNITED STATES DISTRICT COURTT                                                     1/2/25
                                                                         for the
                                                                                                                             CS
                                                           Central District
                                                        __________  DistrictofofCalifornia
                                                                                 __________

                                                                _________ Division
                                                               __________ Division


                                                                           )
                           xiaoxiaozhou                                            Case No.   CV25-144-CBM(BFMx)
                                                                           )
                                                                           )                   (to be filled in by the Clerk’s Office)

                                                                           )
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.       )
If the names of all the plaintiffs cannot fit in the space above,          )
please write “see attached” in the space and attach an additional          )
page with the full list of names.)
                                                                           )
                                  -v-
                                                                           )
      BINANCE HOLDINGS LIMITED, d/b/a                                      )
            BINANCE.COM and                                                )
BAM TRADING SERVICES, INC., d/b/a BINANCE.US                               )
                                                                           )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the
                                                                           )
names of all the defendants cannot fit in the space above, please          )
write “see attached” in the space and attach an additional page
with the full list of names.)



                                    COMPLAINT AND REQUEST FOR INJUNCTION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                   XIAOXIAOZHOU
                                Street Address                         903H BLK SUIYUAN XIAOQU GZ TIANHE TIANYANG R GUANGD
                                City and County                        GUANGZHOU GUANGDONG CHINA
                                State and Zip Code                     GZ 510635
                                Telephone Number                       +8613714998182
                                E-mail Address                         xiazhou891@gmail.com


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.
                                                                                                                                         Page 1 of 6
      Case 2:25-cv-00144-HDV-BFM                             Document 1    Filed 01/02/25         Page 2 of 6 Page ID #:2

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction


                     Defendant No. 1
                                Name                              BAM TRADING SERVICES, INC.
                                Job or Title (if known)
                                Street Address                    One Letterman Drive,Building C,Suite C3-800
                                City and County                   San Francisco, California USA
                                State and Zip Code                California 94129
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 2
                                Name                              BINANCE HOLDINGS LIMITED,
                                Job or Title (if known)
                                Street Address                    House of Francis,Room303,lle Du Port,Mahe,Seychelles. #virtual
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)



                                                                                                                         Page 2 of 6
      Case 2:25-cv-00144-HDV-BFM                               Document 1      Filed 01/02/25      Page 3 of 6 Page ID #:3

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
               ✔ Federal question
               u                                           ✔
                                                           u Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.
                      Plaintiff xiaoxiao zhou brings this complaint against defendants Binance Holdings Limited (“Binance”),
                      BAM Trading Services, Inc. (“BAM”),pursuant to the federal civil Racketeer Influenced and Corrupt
                      Organizations Act (“RICO”), 18 U.S.C. § 1962.

          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name) XIAOXIAO ZHOU                                      , is a citizen of the
                                           State of (name) GUANGDONG CHINA                                  .


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                    , is incorporated
                                           under the laws of the State of (name)                                                            ,
                                           and has its principal place of business in the State of (name)
                                                                                            .

                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)                                                    , is a citizen of
                                           the State of (name)                                                  . Or is a citizen of
                                            (foreign nation)                                      .


                                                                                                                                Page 3 of 6
       Case 2:25-cv-00144-HDV-BFM                            Document 1        Filed 01/02/25        Page 4 of 6 Page ID #:4

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction




                                b.         If the defendant is a corporation
                                           The defendant, (name) BAM TRADING SERVICES, INC.                      , is incorporated under
                                           the laws of the State of (name) California                                          , and has its
                                           principal place of business in the State of (name)      San Francisco, California                   .
                                           Or is incorporated under the laws of (foreign nation)     United States                             ,
                                           and has its principal place of business in (name)       San Francisco, California                   .

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy–the amount the plaintiff claims the defendant owes or the amount at
                                stake–is more than $75,000, not counting interest and costs of court, because (explain):
                                 1:My BINANCE account was registered on December 24, 2017.As shown in the figure 22,23
                                 (22and23 are the same)
                                 2:Before registering on Binance,I registered on other exchanges, later on , i transferred all other
                                 exchanges money into Binance,As shown in the figure 25 ,17,18,19, i once went to the bank to
                                 print the corresponding transaction records, the police also calculated the amount of money

III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.

          A.         Where did the events giving rise to your claim(s) occur?
                      My case is a new type of Internet crime case. Happening on the Internet,It also means that it can
                      happen anywhere, But I was in CHONGQING CHINA, No office, no headquarters,unregulated
                      BINANCE robbed me and then ignored it. . its registered address is a virtual address . I have
                      personally visited the BINANCE registered address in Shanghai published on the Internet, and one is a
                      ruin, and the other is a registered company shared by multiple companies, a virtual address.So I think
                      that the BINANCE registered address in Seychelles is also a virtual address.

                      introduce
          B.         What date and approximate time did the events giving rise to your claim(s) occur?
                      1:Starts on July 12, 2021, Binance’s participation in the extortion and robbery of the cryptocurrency
                      assets that criminal stole from me, My decades of savings were forced to become part of the company's
                      profits , Become one of their "contributions" to expanding their global business .

                      2:BINANCE acts as a bridge for all kinds of "thieves" without ID cards, and colludes with them for the
                      purpose of money. Binance also receives generous fees for every transaction conducted on the Binance
                      exchange, which brings hundreds of millions of dollars in illegal profits to Binance.Binance profited
                      handsomely from its crimes, but federal prosecutors eventually



                                                                                                                                    Page 4 of 6
      Case 2:25-cv-00144-HDV-BFM                             Document 1   Filed 01/02/25    Page 5 of 6 Page ID #:5

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction


          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)
                      Binance users could store and trade value in the form of virtual assets, in accounts(or "wallets")
                      maintained by Binance.when a user opened a Binance account,Binance assigned them a custodial
                      virtual currency wallet-i.e.,a wallet in Binance's custody that allowed the user to conduct transactions on
                      the platform ,including transferring funds to other Binance users or accounts or to external virtual
                      currency wallets.
                      Before the summer of 2021, I transferred all my savings lrregular and continuous to the
                      BINANCE ,Become a BINANCE user .Conduct virtual currency investment transactions,At that time, the
                      main purchase was the token "BNT""ETH",Then I changed to "ETH" "BNB"and transferred it to the
                      external virtual currency wallet: TP wallet. After a series of transactions and conversions, before the
                      incident, I had 305827625 Piece RACA,374168631 Piece FLOKI,Matrix Plus Box #607 and #787,During
                      this transaction, I actually kept transferring my income to BINANCE, and then to TP, and kept buying

IV.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
          could not be measured.
             In response to media interviews, the former chief strategy officer pretended to be innocent and defended that
          Binance had grown rapidly and was initially a company run by software engineers who were unfamiliar with the
          laws and regulations established to address bribery and corruption, money laundering and economic sanctions
          risks. But If there is an error in the system application, it is not a big deal because you can correct it or find other
          options. However, when Binance is robbed, people lose money that they have saved for decades and suffer from
          long-term PTSD.
              Over the years, BINANCE have tried every possible means to evade regulation, win over public opinion, and
          choose to turn a blind eye to the weak voices. Because BINANCE is not regulated, it has flouted the law,
          persecuted, robbed, and defrauded the weak. At the age of 38, I was robbed of everything by BINANCE, who
          was wearing the cloak of blockchain. BINANCE had no intention of returning the money or admitting its mistakes.
          I should have become a mother that year, but I do not only miss out on the next trading opportunity and profit , In

V.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
          BINANCE extortion, fraud and robbery caused me to miss out on trading losses, <But-for test> I will reap this
         profit in the winter of 2021
         305827625(raca) $3135467
         374168631(floki) $131219
         Matrix plus Box #787 #607 $160000
         My trading loss $3426686

         Wherefore, Plaintiffs xiaoxiao zhou pray for the following relief:

         1:Order the defendant compensation for my trading losses $3426686
         2 : Secondly, the mental torture it has caused me for many years is far greater than my trading losses. According




                                                                                                                         Page 5 of 6
      Case 2:25-cv-00144-HDV-BFM                              Document 1      Filed 01/02/25   Page 6 of 6 Page ID #:6

Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction



VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk¶s Office with any changes to my address where case±related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk¶s Office may result
                     in the dismissal of my case.

                     Date of signing:                        01/02/2025


                     Signature of Plaintiff                   xiaoxiao zhou
                     Printed Name of Plaintiff                xiaoxiao zhou


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




                                                                                                                      Page 6 of 6
